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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

 

 

 

FORT WORTH DIVISION
O R I G I N A L
UNITED STATES OF AMERICA
VS
ANTHONY ALEXANDER FERRARI 41 l7-CR-122-Y (l)

 

 

 

ORDER SETTING ADDITIONAL TERMS OF SUPERVISED RELEASE

lt is hereby ORDERED that the above-named defendant, while on supervised release, comply with the standard

conditions recommended by the U.S. Sentencing Commission and comply with the following additional conditions:

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2.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not possess illegal controlled substances.

The defendant shall not possess a firearm, destructive device, or other dangerous weapon.
The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall report in person to the probation office in the district to which the defendant is released within
72 hours of release from the custody of the Federal Bureau of Prisons.

The defendant shall refrain from any unlawhil use of a controlled substance. The defendant shall submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed
by the probation officer.

The defendant shall participate in a program approved by the probation officer for treatment of narcotic or drug
or alcohol dependency that will include testing for the detection of substance use, abstaining from the use of
alcohol and all other intoxicants during and after completion of treatment, contributing to the costs of services
rendered (copayment) at the rate of at least $50 per month.

The defendant shall make all court-ordered child support payments on a timely basis, producing proof of payment
to the probation officer within the first 5 days of each month, whether as a part of a written report required by the

probation officer or otherwise

I acknowledge receipt of the foregoing terms of supervised release. l understand them and l waive the reading of

them in ope court. I agree to be bound by them and subject to revocation for violation of any of them.

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);nth'§Y/Alexander Ferrari, Defendant

 

TERMMM/ MEANS

UNITED STATES DISTRlCT JUDGE

Signed January 4, 2018.

